Case 2:11-cv-09916-SJO-SS Document 177 Filed 02/04/21 Page 1 of 3 Page ID #:2748
Case 2:11-cv-09916-SJO-SS Document 177 Filed 02/04/21 Page 2 of 3 Page ID #:2749
Case 2:11-cv-09916-SJO-SS Document 177 Filed 02/04/21 Page 3 of 3 Page ID #:2750




                                 CERTIFICATE OF SERVICE
  Case Name:       Nichols v. Brown, et al                 Case No.     2:11-cv-09916-SJO-SS

  I hereby certify that on February 4, 2021, I electronically filed the following documents with the
  Clerk of the Court by using the CM/ECF system:
      •    NOTICE OF APPEARANCE
  Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
  I am employed in the Office of the Attorney General, which is the office of a member of the
  California State Bar at which member's direction this service is made. I am 18 years of age or
  older and not a party to this matter. I am familiar with the business practice at the Office of the
  Attorney General for collection and processing of correspondence for mailing with the United
  States Postal Service. In accordance with that practice, correspondence placed in the internal
  mail collection system at the Office of the Attorney General is deposited with the United States
  Postal Service with postage thereon fully prepaid that same day in the ordinary course of
  business.
  I further certify that some of the participants in the case are not registered CM/ECF users. On
  February 4, 2021, I have caused to be mailed in the Office of the Attorney General's internal mail
  system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
  a third party commercial carrier for delivery within three (3) calendar days to the following non-
  CM/ECF participants:
  Charles Nichols
  P.O. Box 1302
  Redondo Beach, CA 90278

  I declare under penalty of perjury under the laws of the State of California and the United States
  of America the foregoing is true and correct and that this declaration was executed on February
  4, 2021, at San Francisco, California.


                  M. Mendiola
                   Declarant                                           Signature

  SA2020302185
  42543936.docx
